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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

           ALFREDO AVILES-TAVIRA,                :   MOTION TO VACATE
           BOP No. 10600-279,                    :   28 U.S.C. § 2255
                Movant,                          :
                                                 :   CIVIL ACTION NO.
                   v.                            :   1:13-CV-3985-JEC-ECS
                                                 :
           UNITED STATES OF AMERICA,             :   CRIMINAL ACTION NO.
                Respondent.                      :   1:12-CR-300-3-JEC-ECS

                               FINAL REPORT AND RECOMMENDATION

                   By Order dated January 27, 2014 (the “January 27 Order”), the

           undersigned noted that an evidentiary hearing is required to

           resolve the allegations made by federal inmate Alfredo Aviles-

           Tavira that his counsel failed to file a direct appeal on his

           behalf, but that, in light of the fact that such counsel was

           retained, Mr. Aviles-Tavira either needed to retain another lawyer

           or demonstrate that he now qualifies for court-appointed counsel.

           See [Doc. No. 95 at 1].      The undersigned directed the Clerk to mail

           Mr. Aviles-Tavira a Form CJA23 and ordered that he respond by

           February 24, 2014, either by naming his new retained counsel or

           completing    the   CJA23.      See   [id.]   Finally,   the   undersigned

           cautioned Mr. Aviles-Tavira that failure to comply fully with the

           terms of the January 27 Order might result in the dismissal of this

           case.    See [id. at 2].     As of March 13, 2014, Mr. Aviles-Tavira has

           not responded.




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                Accordingly, the undersigned       RECOMMENDS    that Mr. Aviles-

           Tavira’s § 2255 motion be DISMISSED WITHOUT PREJUDICE.                See LR

           41.3A(2), NDGa.

                If Mr. Aviles-Tavira responds to the January 27 Order before

           the objection period for this Final Report and Recommendation

           expires or if he files objections, the Clerk is DIRECTED to

           resubmit this case to the undersigned.         Otherwise, the Clerk is

           DIRECTED to submit this case to the district judge to whom this

           case is assigned at the conclusion of the objection period.

                The Clerk is DIRECTED to terminate the referral of this case

           to the undersigned.

                SO RECOMMENDED AND DIRECTED, this 18th day of March, 2014.


                                            S/ E. Clayton Scofield III
                                            E. CLAYTON SCOFIELD III
                                            UNITED STATES MAGISTRATE JUDGE




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